Case 0:19-cv-61187-RKA Document 4 Entered on FLSD Docket 06/14/2019 Page 1 of 4



                              IN THE UNITED STATES DISTRICT COURT

                             FOR THE SOUTHERN DISTRICT OFFLORIDA
 JASON HERSH,

      Plaintiff,                                   Case No.0:19-cv-61187


 GLOBALM ANAGEM ENT ACQUSITION                                      FILED B                    .G.
 FIRM ,INC.
                                                                           JUN 1i 2219
   Defendant,                                                               ANGELAE.NOBLE
                                                                           CLERK U S.DISI CX
                                                                          s.n.oFFuk.-Fmn uo.

                                            ANSW ER
    1. Defendantisw i
                    thoutknowledge asto paragraph 1ofthe Com plaint.

    2. Paragraph 2 ofthe Com plaintisadm itted.

        Paragraph 3ofthe Com plaintis Denied.

    4. Defendantiswithoutknowledge asto paragraph4 ofthe Com plaint.

    5. Defendantiswithoutknow ledge asto paragraph 5 ofthe Com plaint.

    6. Defendantiswithoutknow ledge asto paragraph 6 ofthe Com plaint.

       Defendantiswithoutknowledge asto paragraph 7 ofthe Com plaint.

    8. Paragraph 8 ofthe Com plaintisDenied.

       Paragraph 9 ofthe ComplaintisDenied.

    10.Paragraph 10 ofthe Com plaintisDenied.

    11.Paragraph 11 ofthe Com plaintis Denied.

    12.Paragraph 12 ofthe Com plaintisDenied.

    13.Paragraph 13 ofthe Com plaintisDenied.

    14.Defendantiswithoutknow ledge asto paragraph 14 ofthe Com plaint.

    15.Paragraph 15 ofthe ComplaintisDenied.

    16.Paragraph 16 ofthe Com plaintis Denied.
    Case 0:19-cv-61187-RKA Document 4 Entered on FLSD Docket 06/14/2019 Page 2 of 4
#



        17.Paragraph 17 ofthe Com plaintisDenied.

        18.Paragraph 18 ofthe ComplaintisDenied.

        19.Defendantiswithoutknow ledge asto paragraph 19 ofthe Complaint.

        20.Defendantiswithoutknow ledge asto paragraph 20 ofthe Complaint.

        21.Paragraph 21 ofthe Com plaintisDenied.

        22.Defendantiswithoutknow ledge asto paragraph 22 ofthe Com plaint.

        23.Paragraph 23 ofthe Com plaintisDenied.

        24.Paragraph 24 ofthe Com plaintis Denied.




                                        CERTIFICATEOFSERVICE


     IHEREBYCERTIFYthatatruecopyoftheforegoingwasmailed/handdelivered byGLOBAL
     M ANAGEM ENT ACQUSI
                       TION FIRM ,INC.to Joshua A.M ize Esq.atM ize Law PIIC,Jupiter,FL33477

     DATED: June 12,2019

     CC.IN THEUNITED STATESDISTRIG COURT FOR THESOUTHERN DISTRICT OF FLORIDA
        US CLERK




                                                      Lam ontCooper,Secretaw
                                                      GlobalM anagem entAcquisition Firm,Inc
                                                      1911 Grayson Hwy,Suite 8-130
                                                      Grayson,GA 30017
Case 0:19-cv-61187-RKA Document 4 Entered on FLSD Docket 06/14/2019 Page 3 of 4




                     G.S.j 10B-41NOTARIAL CERTIFICATE FOR
                                              A CK N O W LEDG M ENT



     7/f6*
         + Z/T ouny,xouhcarolina
         Icertifythatthefollowingpersonts)personallyappearedbeforemethisday,each
         acknowledging to me thatheorshesignedtheforegoing document:


                                                  amels)ofprincipalls)

         Date:



                 (OfficialSeal)
                                                                 hcialSignatureofNotary         /
        JOZSEF BELA A K                 ..-
                                                       x           v'                   tary blic
              N               '   ..,                  Notary ,
                                                              sprinted or/ypcl name '
                otary public
      Mecklenburg co., North c ,' na
     V#Commi qsinnFxpire:Nok .; aclg                   M y Com mission expires:
                  - - -....   . ..) .
                                .t
                                 . sIœ=
                                      =   .J                 . .
                                                              .                                    .
                                                                                                   ,-                              .       -            .                              .. - <
                                                                                                                                                                ..- .. ... .                                      K

        f        Case. 0:19-cv-61187-RKA
                       '.                Document
                                               . 4 Entered
                                                    '      on FLSD Docket 06/14/2019 Page 4 of 4
                                                                                                                               .
                                                                                                                                                                                                            *s-
        E
        f
        :          PREM FIRMLF TO S& i                                            PREM FIRMLF TO S& L                                                    pnjonjn Mlju                                   ,
                                                                                                                                                                                                      z.,
                                                                                                                                                       POSTAGE REQUIRED                              '
                                                                                                                                                                                                    ..            .
                                                                                                                                                                                                .
                                                                                                                                                                                                    .             z
        7                                                                                                                                                                                     .
                                                                                                                                                                                                /                 :
        '                                                                                                                                                                                       '                 j
                            In            n lY u *                                                                                                                                                                J
    :
    ;                +                                             R*XII                 FROM:p.
                                                                                               wRyjoARju
                                                                                                       jT Y *
                                                                                                         +.                                         upuopurz
                                                                                                                                                   yj      sz
                                                                                                                                                            oxsuzrgs
                                                                                                                                                           susyw
                                                                                                                                                            s
                                                                                                                                                                               .
                                                                                                                                                                                                                  jj
                                                                                                                                                                                                                  ,
    t&)
    %
    ,
                     m                                                                             FaoM                                                                                                           1j
    C>                                               us posTAoE px o                                      ,                                                                                                       l
' )
  'I'
    :               r
                    o,
                     :o                                  jj; 4: œ
                                                                c.g
                                                                  ,
                                                                  a
                                                                  l
                                                                  -/
                                                                   .
                                                                   ra,
                                                                     c                             G.
                                                                                                    lotxz.
                                                                                                         k                  eme
                                                                                                                              .v
                                                                                                                               1-                       .                                                         :'
                                                                                                                                                                                                                  (:
                                                                                                                                                                                                                   '
! :
' 1
  -
  .
  2
                    r
                    u us
                    $ lx
                                                             .
                                               PRIOBIW HA'L2-Day*
                                                                           xaar
                                                                              voonaaoa                  tcjj(owo
                                                                                                    Cv &*xms.
                                                                                                           jao        /jjoj yotj
                                                                                                                               .
                                                                                                                               o-q-jy                                                                             jl
                                                                                                                                                                                                                  J
                                                                                                                                                                                                                   j
                                                                                                                                                                                                                   j
!           a.
            j                                                                                             l .à.,
                                                                                                               ax i-/           .              x
                                                                                                                                               n S&                                                               12
            a       .. pj                                                  ()l.saac œ                                                                  ozlo <ww                                                   :j
q
            !
            -
            ,          .                                                         1006
                                                                                                                                                           z
                                                                                                                                                           rs ts-.
                                                                                                                                                                                                              #t
                                                                                                                                                                                                              a
            j
            :                 expec'
                                   rso ocuvEav DAV: ::/44/4:
                                                                                                              To .-                            '
                                                                                                                                                   .
                                                                                                                                                            on.
                                                                                                                                                             o ..
                                                                                                                                                                '-..-k,b> >,                                  .
                                                                                                                                                                                                              2
                                                                                                                                                                                                              :
                                                                                                                                                                                                               i
                                                                                                                                                                                                              2%
                                                                                                                                               ...
,           I                                                                                                                                      z          q
                                                                                                                                                              v .v. 4n1.. .                                   lt  .

     2
    .j                                                                     cc19                         (y F u lokùog1.é.' ob:kv- *k.x-'u                                                       s :!
                                                                                                                                                                                                  iy
    ,
    5
    'j                        sH,
                              . '
                                p                                                          .

                                                                                                        aqr                            .
                                                                                                                                                                                   4                          !j
    '
    .
    )
    $'
      '             wH
                     AEN
                       cuuss
                           .
                           r
                           E a
                             s9
                              y:
                               uE
                                jxBnowAgnauvn
                     LABELM FORTLAtJDEnDAUEFua3a01
                                                                                               . ' xsgt
                                                                                                      ,?oowc..
                                                                                                      .qxl jo,
                                                                                                              z .tevwg                                                                                        ,
                                                                                                                                                                                                              :j
                                                                                                                                                                                                              j1
                                                                                                                                                                                                               :
            a                                                      -   1922                    ,
                                                                                                        Coof'
                                                                                                            b         I
                                                                                                                      'YN
    $ ,
    i 1.
    '
    a                       S                  ''' -
                                                 .
                                                                       .      .                         vor. ukxtv -uto, v'   .
                                                                                                                          Afs-ku zssot
                                                                                                                                                                                                              jj
                                                                                                                                                                                                              j.
                                                                                                                                                                                                               j
    1
    t
    )                                                                                          '                                                                                                              zl
    '
    j                                                                                           ,x m ......xj,              po.xgssacAxpjxxspxvjoxAuusE                                                       IR
    ï
    1
    q
                                                                                                                                                                                                              41
                                                                                                                                                                                                               1
                                                                                                                                                                                                              :j
                                                                                                                                                                                                              '

    ;
    E
    .
                                    9510 8153 8542 91632912 79                                                                                                                                                1
    1
    '
    ,                        11111111111111111 oD
                                               sm:w1oa-lyao,z                     vls
                                                                                                                                                                                                              *
                                                                                                                                                                                                              '
    .
    :
    )               ps0000 100O0 14                        zs x qa                oao    l
                                                                                         /aU
                                                                                           ,a
                                                                                            Ss,
                                                                                              As
                                                                                               Tup
                                                                                                 UpS
                                                                                                   uj
                                                                                                    P
                                                                                                    Es
                                                                                                     So
                                                                                                      .C
                                                                                                       x0
                                                                                                        uj
                                                                                                         x
                                                                                                         Mc*                                                    &*MiD-
                                                                                                                                                                     sR
                                                                                                                                                                      -
                                                                                                                                                                      sa
                                                                                                                                                                       dTfcf
                                                                                                                                                                           s              .

    !
    i
    1 .
            .
    j                                                                                                                                                                                           .            Nx..
    k                                                .             -                                                                                                                                                  .




                                                                                                                                                                                                                          .i


                                                                                                                                                                                                                          (
                                                                                                                                                                                                                          5
                                                                                                                                                                                                                          .
                                                                                                                                                                                                                          t
                                                                                                                                                                                                                          2.'
                                                                                                                                                                                                                          :
                                                                                                                                                                                                                          '.
                                                                                                                                                                                                                          !E
                                                                                                                                                                                                                          R
                                                                                                                                                                                                                          '
                                                                                                                                                                                                                          j
